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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 17-252V
                                       Filed: May 3, 2022
                                         UNPUBLISHED


    WAYNE STEPHEN FAULK, on behalf
    of the Estate of JEFFREY WAYNE
    FAULK,
                                                              Joint Stipulation on Damages;
                         Petitioner,                          Hepatitis B vaccine; Guillain-Barre
    v.                                                        Syndrome (“GBS”)

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Milton Clay Ragsdale IV, Ragsdale LLC, Birmingham, AL, for petitioner.
Nina Ren , U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION 1

       On February 22, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). After his passing on March 22, 2017, Wayne Stephen Faulk, as legal
representative of the Estate of Jeffrey Wayne Faulk, was substituted as petitioner.
(ECF Nos. 13, 14.) Petitioner alleges that Mr. Jeffrey Wayne Faulk suffered Guillain-
Barre Syndrome (“GBS”) caused-in-fact by his Hep B vaccine administered on April 24,
2014. Petition at 1; Stipulation, filed May 3, 2022, at ¶ 4. Petitioner further alleges that
he experienced the residual effects of his condition for more than six months, that there
has been no prior award or settlement of a civil action for damages as a result of his
condition, and that his vaccine was administered in the United States. Petition at 3-4;
Stipulation at ¶¶ 3-5. “Respondent denies that the Hep B vaccine caused the


1 Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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decedent’s alleged GBS or any other injury, and denies that the decedent’s alleged
injury and eventual death are sequelae of a vaccine-related injury.” Stipulation at ¶ 6.

        Nevertheless, on May 3, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as the decision of the Court in awarding damages, on the terms
set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $80,000.00 in the form of a check payable to petitioner, as
        legal representative of the Estate of Jeffrey Wayne Faulk. Stipulation at ¶ 8.
        This amount represents compensation for all items of damages that would be
        available under § 15(a). Id.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment in accordance with this decision. 3


IT IS SO ORDERED.

                                          s/Daniel T. Horner
                                          Daniel T. Horner
                                          Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
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